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HARRISON COUNTY SHERIFF'S -
DEPARTMENT

» AOE PRICT. SUP ROE

DATE: Y= P-99
NAME: Ruan 1 JTee/
“SSN: JIS 31)--9P9O

I HAVE BEEN ADVISED OF AND UNDERSTAND THE POST ORDER FOR. a
er | UNDERSTAND ITISMY 0

Flor offi
RESPONSIBILITY TO KEEP CURRENT WITH CH ANGES IN THESE ORDERS BY
, REVIEWING THE POSTED: ORDERS AT MY. DI. TY STATION AND. SIGNING

THAT | HAVE READ SAID ORDERS” : ae

iMGN OEE RFE

"Ease 1:05-cv-00326-LG:IMR Document 77-4 Filed 68/14/08 Page 20f39.

HARRISON COUNTY SHERIFF’S DEPARTMENT

Ghis Ss ‘Go Certify ‘Ghat

RYAN EeHAL EEL

HAS coy Es ep DWER

Tl oF INSTRUGA

ny
Oeeen” me PePhGSS WIT
, FeveRl eX fy
- BONDHES TED BY
ee i

THE HA KRRISON cgi We SHERTE

ZAG PRICE
_ SHERIFF

INSTRUCTOR ACADEMY DIRECTOR ||

ease 1:05-cV-00336-LE-JMR™ Document 77-4” Filed 0814/08 Page 3 of89

ok

|| HARRISON COUNTY SHERIFF’S DEPARTMENT

“Ghis Is <Go Certify “Ghat

RYAN MICHAEL TEEL

JOE PRICE
Z SHERIFF -

“INSTRUCTOR

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Exot ne ote -
_ Sess “ow Overve/ (lonloo UCKDE
“class. SS”SCéKATE ~~ “SLOCATION
Sete ES (et

STRL CTOR’

O00 AAS
HOURS OF TRAINING _

| NAME. Ryn. M Teel _____ SSN as SL 1290

SEX: (MALE ( ) FEMALE - DOB: O2- aD “V7

: HOME ADDRESS a2 PO Feck Plewe Dr.
_f ary. Gulfport a _ stave ALS. _ __ zp 34507 _

| TELEPHONE: ‘HOME. 1 653. “OFFICE

Devi ote: i 01] 7-00-_

"OPFICERS SIGNATURE 7 DATE
: EMERGENCY INFORMATION oe

. NAME. Kira Teel So _ . _ RELATIONSHIP wike

: TELEPHONE: HOME. p46 bps3 S_ ee _OFFICE_ :

"CLASS HOURS. 4 oO (en TEST SCORE: -PREL ___. Post.

CERTIFIED. AREALs (ves) @o) (PASS) : (AIL)
oe fanfo 00.

INSTRUCTORS SIGNATURE TO DATES

RECORDED: - ee Pate _ BY:

a INSTRUCTOR COMMENTS

4.) wRa OE. is the on

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HARRISON COUNTY ADULT DETENTION CENTER
a
JOE PRICE, SHERIFF

SEARCHING: PEOPLE, PLACES, AND THINGS
INSTRUCTOR: LT... PHIL L. TAYLOR

wot
a

"Date G- 49 ~94
Student nane Ryan jee/ . . : Badgef 376

type of ° search you can trust?

ONE You - ne Saty 2 aise

55 ~How tiany officers should econdu cell search? Q

a

6. +) all incoming mail should be searched: prior to the. inmate:

receiving it. (Fite) ox false -
7.) It “is acceptable to damage mail while searching it.

true or ( false?

°8.) All items moved during a cell search should be placed in

their. original position. (Exue Dor false

‘body when conducting a strip search. true
a

10.) You: should never search incoming property.

crue or(faise) —°

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oo

OFFICER CONDUCT
TEST

L. INMATES AND OFFICERS. ARE TO BE TREATED WITH \Caspaacd_

; rafesional LAW ENFORCEMENT OFFICER.

5. EMPLOYEES MAY NOT. CAMP AIGN ON NEPARTMENT TIME.
B/FALSE - :

. S.Seal :. (. : hacasen end.
Case 1: 05-cv-00326-LG-JMR Document 77-4 — Filed 08/14/08 Gan ‘

- #3 76

INMATES MEDICAL CARE
HARRISON COUNTY SHERIFF ° DEPARTMENT

1D TO PROVIDE ADEQUATE TREATMENT FOR THE MEDICAL NEEDS OF THE INMATES, WE
. HAVE A beagle OBLIGATION. oo

(2) THE ABSENCE OF MEDICAL CARE IS CITED CRUEL AND UNUSUAL PUNISHMENT,
WHICH IS A VIOLATION OF WHAT? Q.¢7 Rive

- 3). WHATIS ‘ONE EXAMPLE OF DELIBERATE INDIFFERENCE TO THE MEDICAL NEEDS Eo.
AN INMATE BY THE JAIL STAFF? te: “nor: avy | the inmaie Sere pet ervedion Gore

4) AT ARE THE WAYS AN i CAN SEE THE MEDICAL STAFF |
te a5 ano Fices or Pp Fins ia’ a Faques? arn

5) WHAT IS THE OFFICER'S RESPONSIBILITY IF AN INMATE TELLS HIMHER THEY NEED
MEDICAL ATTENTION? te ser Heanor hes thefe Po
6) Sos REET rer? ) Ds diet moalten!
7) ANA MEDICAL EMERGENCY, WHAT IS THE TOP PRIORITY OF” THE JAIL STAFF?

| te take core & provide for the inawde -

9) IFMEDICATION BROUGHT INTO THE JAH: BY AN INMATE FAMILY, BER,
WHER: ale MEDICATION SENT? Firs} te erent Tes

9). (OFFICERS? Some in naahes . ger.

ty) WHAT ARE 3. SIGNS OF DRUG T OFFICERS SHOULD B BE AWARE. OF? ~

Feoves , cold A seseats , HAUS,

2

hess ave. spreodon} trong A‘ he ‘’. olay

é ,

lee!
Case 1:05-cv-00326-LG-JMR Document ’77-4 Filed 08H4/08 Page 8 of 39

HARRISON COUNTY SHERIFF’S DEPARTMENT
FIRE EQUIPMENT OPERATIONS

INSTURCTOR: STEVEN P. SOLMON

NAME: Byan wh Teel
DOB Q- ~23- 22.
ssn 45" 31-4290

TEST SCORE
-. $s
Case 1:05-cv-00326-LG-JMR_ - Document 77-4 Filed 08/14/08 Page 9 of 39

CLASS “A” coeed_y paper _aloth

CLASS “B” Elmable liquid

CLASS “C” electital equph
CLASS “D” pombustad Le erendals.

FIRE SAFETY TEST oy

WHAT IS RACE?

R Costus

A blac __

Coonthin

E edtinguish

WHAT ARE THE FOUR TYPES OF CLASSES OF FIRE?

ALL ALARM SYSTEMS WILL BE MONITORED. WHERE?

Contrall Ceatra |

WHERE WILL THE EVACUATION ROUTES BE POSTED?

tower .

HOW DO YOU USE A FIRE EXTINGUISHER?

Pass

YOU CAN USE A CLASS “A” ORDINARY COMBUSTIBLE
FIRE EXTINGUISHER TO PUT ouT AN ELECTRICAL F TRE.

"ane __ __ FALSE. A
Case 1:05-cv-00326-LG-JMR Document 77-4 Filed 08/14/08 Page 10 of 39

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10:

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WHAT IS’PASS?

Pall the pra . _ : .

Aien. the noccle

Suregp firma stde to side:
THERE IS A FIRE EXTINGUISHER THAT WILL PUT OUT ALL
THREE TYPES OF FIRES.

TRUE Y _____ FALSE

LIST THREE OF THE SEVEN EVACUATION PROCEDURES.

WHAT IS THE STAFF'S FIRST RESPONSIBILITY IN THE EVENT
OFA FIRE? |

cooly shit Jergcsat “2 nent coaball
‘Case 1:05-cv-00326-LG-JMR Document 77-4 Filed 08/14/08

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age 11 of 39

QUIZ plies

Why should you not use a water extinguisher on a flammable liquid fire?

A) its limited range requires you to get too close to the fire.

B) It will not discharge long enough to put this type of fire out compietely.. “

Git may intensify the fire.

Which i is true of COs extinguishers?

A) They don't leave corrosive residue which can damage equipment and is difficult to clean
up. a. =. Lon

B). They must be used closer to the fire than: other extinguishers: _

-C). They may be. used on Class B or C fires. oe oo,

Gh All of the above statements are true.
Which technique is generally advisable for directing extinguishing agent at a fire?
A) Aiming at center of fire, move from front edge to back edge.

) Start at front edge at base of fire; using sidé-to-side sweeping motion, work toward-back —
edge.

cy Start to one side of fire; using up-and-down motion, move slowly to. other side ¢ of fire.

Lo The extinguishment of. which type of fire j is complicated by the danger of electrical shock?
A) Class A.

gy Class 8.

| @ctasé-c.

. When exiting a smoke-filled space, you should:

8 Stay low and close doors behind you to prevent spread of: smoke.

B)) Stay low and | teave doors open behind you, to help disperse smoke.

C)-Keep.head high and close doors behind you to prevent spread of smoke.

D) Keep head high. and leave doors open behind. you to help disperse smoke.

“Which. statement. about the Class A pressurized water extinguishers is true?

A) It is the: mast common type.

B) Using it. onan velettrcal fire presents th the danger of serious electric shock to. the operator.

C) ltcan be used, on ordinary combustible fires (i.e., paper, wood, cloth, many plastics and
rubber). s

a All of the above statements are true.
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‘7. Which statemen uvut the use of fire extinguishers is true?

A) The locking pin must be removed prior to squeezing the handle<in order to discharge
the extinguisher.

B) An extinguisher may need to be recharged even if it has never been used.
C) An extinguisher. may be used safely and effectively with training.
-Q) All of the above statements are true.
8. What is the first thing you should do when you discover a fire?
. A) Check the extinguisher gauge to see if it’s fully charged.
g Sound the-alarm. -

C) Read the extinguisher operating instructions.

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Case 1:05-cv-00326-LG-JMR Document 77-4. Filed 08/14/08 Page 13.9539
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PURPOSE: IT IS THE PURPOSE OF THESE PROCEDURES TO PROTECT THE WELL-

BEING OF THE INMATE BY INSTITUTING GUIDELINES DESIGNED TO PREVENT

_: SUICIDE. AND HARM RESULTING FROM INTENTIONAL SELF-INJURIOUS
BEHAVIOR. IT IS ALSO THE PURPOSE OF THESE PROCEDURES TO RESPOND TO
THE NEEDS OF SUCH INMATES AS PROMPTLY AS THE CIRCUMSTANCES PERMIT.

1.

“ENCLOSED ARE TEN QUESTIONS THAT NEED TO BE COMPLETED BY EACH
. CORRECTIONAL OFFICER. —

SHOULD ALL CORRECTIONAL STAFF BE AWARE OF THE NECESSITY OF

-PROMPT REPORTING ANY OF THE FOLLOWING. OBSERVATIONS?

~ A. INTENTIONAL SELF-INJURIOUS BEHAVIOR, =:
_ B. STATEMENTS OR THREATS WHICH SUGGEST THOUGHTS, INTENT OR-

‘PLANS TO HARM SELF.
. BEHAVIORS THAT SUGGEST INTENT OR PLANS TO HARM SELF,

SUCH AS TYING OF CLOTHING, SHEETS, OR ROPE..

Cc
'D. NOTES WHICH SUGGEST THOUGHTS, INTENT OR PLANS TO HARM
~. SELF.

E

‘STATEMENTS. SUGGESTING LACK OF HOPE OR PREOCCUPATION

WITH DEATH OR DYING. - :

EXTREME WITHDRAWAL OR LACK OF INTEREST IN: SURROUNDING.

“SIGNIFICANT LOSS OF APPETITE OR UNEXPLAINED LOSS. OF WEIGHT.
FALSE

IS IT THE CORRECTIONAL OFFICERS RESPONSIBILITY TO ASSESS THE SUICIDE a
RISK AND ASSIGN THE LEVELS OF

SUICIDE WATCH?

| TRUE

IS If THE MENTAL HEALTH AND MEDICAL STAFF S RESPONSIBILITY TO"

ASSIGN THE LEVELS OR THE SUICIDE WATCH?
FALSE -

Wace oF Ta — 8
che gh 5-2) OR (SRS-1) oe og

. ASSIGNMENT OF A SOS LEVEL PRESUPPOSES A CLINICALLY: SIGNIFICANT
- RISK FOR INTENTIONAL SELF-INJURY LIKELY TO CAUSE SERIOUS BODILY

HARM?

FALSE

: DISCONTINUATION OF SOS SHOULD BE DONE GRADUALLY RATHER THAN
-. ABRUPTLY.: THAT IS, SOS-I SHOULD BE REDUCED TO SOS-2 BEFORE. SOS -
_ STATUS IS DISCONTINUED ALTOGETHER. THEN, OS STATUS SHOULD BE

_ INSTITUTED FOR AN

APPROPRIATE PERIOD PRIOR TO FINAL DISCHARGE? _
(rug FALSE

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\

7. IF THE CORRECTIONAL OFFICER FEELS THAT THE INMATE WITH MENTAL /
_OR/ SUICIDE THOUGHTS NO LONGER ACTS LIKE THE INMATE WANT STO
HARM HIM OR HER SELF THE CORRECTIONAL OFFICER CAN MOVE THE
INMATE BACK TO GENERAL POPULATION WITHOUT ANY MEDICAL

AUTHORIZATION? : og
moe CRaLsp

g. INMATES WHO ARE ASSIGNED A SOS WILL BE HOUSED IN THE MENTAL /
_ MEDICAL WARD? | -
Oo RUE FALSE

9. THE PSYCHOLOGIST OR THE PHYSICIAN SHALL ASSUME FINAL
RESPONSIBILITY FOR MANAGEMENT AND TREATMENT OF INMATES WHO

ARE JUDGED TO BE AT RISK: T SUICIDE OR OTHER SELF-INJURY. —
: FALSE:

10. SOS-1
/SEVERERISK.
_ B. GENERAL OBSERVATION

AL. $08-2
.. Av SEVERE RISK
o MODERATE RISK »
<. GENERAL OBSERVATION -

12. DAILY BATHING SHOULD BE ENCOURAGED, UNLESS REFUSED BY INMATE,

WHICH SHOULD BE DOCUMENTED?
. ‘Prene] FALSE.

13° WITH THE INMATE OBSERVATION FOR S0S-1, WHAT IS THE TIME KEPT ON .
THE NARRATIVE?) _ a
. B45 MIN -

B.:.30 MIN

C. 1HOUR |
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_HARRISON COUNTY SHERIFF’ s DEPARTMENT

Trainee’s Name Badge No. _— Date
LJ General . Order. 1D is the Harrison County
. Sheriff's. Department’s order which sets out the
. Department's policy. regarding | Sexual Harassment.
True « or False
2.] One form of sexual harassment is whén a supervisor

JOE PRICE, SHERIFF
228-865-7092 228-865-7095

aL Tee (_ 37GB G-19-G9

demands sexual favors in return for job: advancement

or a raise, or to avoid firing or demotion - what is

or False (circle: one)

jess called a "tangible job loss".

3.]

4]

8)

An employee i is harassed by: a supervisor and/o or other

employee only if management is aware of it..

True. or (Fals® p {circle one)

‘Reports: of sexual harassment may be verbal; but a.

_ written report. is most. desirable.
(@rueor False {circle one)

The Department is ‘not responsible for harassment by.

non-employees (such as clients, consultants, inmates
etc.) if management knew, or should have known the
situation existed but failed to take corrective action.
True orfals y/ (circle one)

P.O. BOX 1480 GULFPORT, MISSISSIPPI 39502

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- HARRISON COUNTY SHERIFF’S DEPARTMENT |

6]

JOE PRICE, SHERIFF
228-865-7092 228-865-7095

Sexual harassment does not occur until the person
harassed believes he/she was harassed. An act today

pray not'p¢ harassment; but tomorrow, it might be.
/usor | {circle one) . wT

7]

All forms of. sexual harassment are strictly forbidden.

he Harrison County Sheriff's Department.

Grusbr False (circle one)

Any employee believing ‘that he/she has been
sexually harassed shall report such harassment to

his/her immediate supervisor, even if that officer. is.
the officer accused of the. harassment, or to the.

immediate supérvisor's supervisor.

True oxFalse) circle one)

- 01

10.] All complaints of sexual . harassment. are kept.

It. shall be unlawful for any jailer, guard, employee of .
the Department of Corrections, sheriff, constable, -
marshal or other officer to engage in any. sexual
_ penetration as defined in Section 97- 3-97, Miss Code .
>. with any offender, with or without. the. offender's:
- consent, who is incarcerated at any jail or any state,

county or private correctional facility.
o r False (circle one)

confidentia{True or False (circle one)

P.O. BOX 1480 GULFPORT, MISSISSIPPI 39502

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oon,
_ Case 1:05-cv-00326-LG-JMR Document 77-4 Filed 08/14/08 Page 17 of 39 |
USA v. Harrison County - - Name: Ran. a MTeel
Consent Judgment Test Badge No! S76 0)

‘Date: 7-7-9494

1.] According to Mississippi State law who is the jailer of the county?

The Board of Supervisors of the County
The Mayor of the largest City in the. County
~The Chancery Clerk
(d),) The Sheriff

_ 2.) ~The Consent Judgment provides that Harrison County shall:

(a) provide telephones and televisions to. all inmates. housed at
" _ HCDC.

3.) Accord g to the Consent Judgment how many officers are to be
assigned to each of the four (4) housing units?

(a) three @) officers on duty for all shifts
Aff two (2) officers on duty for all shifts .
(c) two (2) officers on duty during the 3 p.m. to 11:00 p.m. shift.
‘(d) none of the above - the Judgment does not discuss staffing.

a 4] This pre-service training is not recommended or ‘required under

the Consent Judgment. True False Mw

5.] - Inmates will gain access to the law library and the paralegal by:

(xf completing a request form entitled “Harrison County
. Sheriff's Department Legal Research Request”
(b) _ telling the tower officer that he needs to talk to the paralegal
(c) calling 1 the paralegal using the telephone in the sections _
(d) writing a letter to the paralegal and mailing: the letter
through the U. S. Mails
Case 1:05-cv-00326-LG-JMR. Document 77-4 Filed 08/14/08 Page 18 of 39

On. ?- 7- oF, _.. Ruan Wh Teel
[Date] - (ffi icer’s Name]
attended a class conducted, by the Harrison County Sheriff's Department for
the purpose of reviewing the United States District Court Consent Judgment
which pertains to the operation of the Harrison County Adult Detention Center.

I received a copy of the Consent Judgment in the. case styled United States of

America v. Harrison County, Mississippi, et al and I participated in the

discussion of same.

dL mM Teel _ , State that I have read. the

ff fficer’ 's Name].
Consent J udgment and I have an understanding of's same.

Name: Ruan M1, Teel wget: 376
Address: 3320 fark Place De. cL,

Gulfrort , MS. 349507
Social Security No.: 425~.31-9790

a€

Signathyg. du ting Class ' Date.
GA .
' [Position] : a

-

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_ DATE: 9-2 - #9

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HARRISON COUNTY SHERIFF’S
DEPARTMENT —
JOE PRICE, SHERIFF

HARRISON COUNTY INMATE DISCIPLINE

PASS L _OR FAIL

STUDENT NAME: Byao- M Teel BADGE #: 326

INSTRUCTOR NAME: _C - he . _BADGE #: 2S

_ THE FOLLOWING QUESTIONS ARE MATCHING. CHOOSE THE ANSWER
THAT. CORRESPONDS TOT. HE QUES TION. oo.

7 53.

6.
WHAT MUST ALWAYS BE FOLLOWED IN \ INMATE DISCIPLINE? | Pp.

om

10.

11.

eee net

HOW MANY TYPES OF VIOLATIONS ARE THERE? 2M

WHAT IS THE FIRST STEP AFTER A VIOLATION HAS OCCURRED? 2

THE FOLLOWING ARE SANCTIONS THAT CAN BE AS PUNITIVE ACTION
AGAINST AN INMATE.

. THE FOLLOWING ARE SANCTIONS THAT CAN NOT BE USED AS.
PUNITIVE ACTION AGAINST AN INMATE. ( )

THE FOLLOWING STEPS ARE THE FIVE MAJOR STEPS IN [NMATE
DISCIPLINE. AE

‘WHAT IS THE WARDENS ROLE IN _waarE DISCIPLINE? D_ .

. HOW LONG AFTER A VIOLATION IS REPORTED MUST AN

(NVESTIGATION BE INITIATED?

a
a

a

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Case 1:05-Ccv-00326-LG-JMR ’ Document 77-4 ‘Filed 08/14/08 Page 20 of 39

HARRISON COUNTY SHERIFF'S |
~ DEPARTMENT.
JOE PRICE, SHERIFF

HARRISON COUNTY INMATE DISCIPLINE

DATE: 42: 49 . .
PASS _C—ORFAILL.

_ STUDENT NAME: Byaa wa Teef_ BADGE #: 376

INSTRUCTOR NAME: Cu CA BADGE #:, DOs.

THE F OLLOWING QUESTIONS ARE a FILE IN THE BLANK. READ. EACH.
QUESTI ON CAREF ULE Y AND ANS WER EACH QUES TION THE BEST YoU.

CAN. |

tl. WHATIS DISCIPLINE? .
“Discipline: Ls the Foundation ta.

SH: . \ i,

_otd. ris r ‘oltre

3. CAN AN IN MATE BE PLACED IN ‘DETENTION BEFORE A HEARING Is

~ CONDUCTED?
(YES OR NO) EXPLAIN:

Yes FE he fas. ance & Ch jie
Ys, he crerra [of Aeeron hhmsel F __

fe

- 4. EXPLAIN THE TERM‘ ‘DUE PROCESS” AND HOW IT EFF ECTS INMATES
“AND LAW ENFORCEMENT. >

“Due Proesss is te <sfyas He offfeer + papireies -

Fall: beg ALES Zs nate SALE Cvelyorte g2ks Weater Laithy

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Case 1:05-cv-00326-LG-JMR Document 7 _ Filed 08/14/08 Page 21 of 39

HARRISON COUNTY SHERIFF’S
_ DEPARTMENT
_ JOE PRICE, SHERTEF

HARRISON COUNTY INMATE HAND BOOK
- RULES & REGULATIONS TEST

"DATE: 9- 7-99 oe ,
PASS —<orran

a STUDENT NAME: Bape. Teel _BADGE#: 37 .
"INSTRUCTOR NAME: Lr ZH fA BADGE #:. 28 S_

THE F OLLOWING QUES TIONS ARE FILL IN THE BLANK. READ EACH

"1. WHO-MUST RECEIVE A HANDBOOK?

QUESTION CAREF ULLY AND ANSWER EACH QUES TION THE BEST YoU
CAN.

3, WHO IS RESPONSIBLE FOR THE CONDITION AND LIABILITY OF THE

_ | INMATE HANDBOOK?
the tamate

oe

Case 1:05-cv-00326-LG-JMR Document 77-4

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fp.

HARRISON COUNTY SHERIFF’S
DEPARTMENT —
JOE PRICE, SHERIFF

HARRISON COUNTY INMATE HAND BOOK
RULES & REGULATIONS TEST

DATE: 7-7-$9 : a poy
So PASS _Corran,

STUDENT NAME: ‘Ayan Mm Teo [ BADGE #: G-7- “99
INSTRUCTOR NAME: Ce < ZAC. (BADGE #: es, -

oo THE FOLLOWING QUESTIONS ARE FILL IN THE BLANK. ‘READ EACH
QUESTION CAREFULLY AND ANSWER EACH QUESTION THE BEST YOU

CAN.

5. IN REFERENCE TO THE INMATE HANDBOOK: HOW WOULD AN INMATE
MAKE: CONTACT WITH THE WARDEN?.

24 Eillbias Gest n Kegass? Fotea + Pacing “AAS ta. tes bhe. -

in mazeltee! anit rs Hteatteed to Stet pointed ates

a

6. ARE FEDERAL INMATES CHARGED FOR MEDICAL SERVICE?
NO .

7. IF AN INMATES LAST NAME PEGINS W WITH H, WHEN CAN of VISIT?

1:00 PA, Til Wena -

8. WHAT IS THE JAILS POLICY ON SMOKING?
Smokina 33 prcmittea. in dayrooms. or garck only, Saelling

N
Case 1:05-cv-00326-LG-JMR Document 77-4 Filed 08/14/08 Page 2:

—DO NOT WRITE ON THIS EXAM—
Core CPR Questions Exam A

1. The correct order of the three basic steps you should take in
‘most emergencies are—

a. Call 9-1-1 or the local emergency number, check the scene
and the victim, then care for the victim.

Codcheck the scene and the victim, call 9-1-1 or the local « .
emergency number, then care for the victim. .

c. Check the victim, call 9-1-1 or the local emergency number,
then care for the victim.

. d. Care for the victim, call 9- 1-1 or the local emergency
“number, then check the scene. :

2. An easy way to tell ifa victim is conscious, , breathing, and has a
heartbeat is to—

. a. Tap the victim and. shake the victim's shoulder.
a, xX 3 Look, listen, and feel for breathing.
f “c. Feel the, carotid pulse at the neck.

AG) ‘Ask the victim a. question:

"Which of the following is the most important reason for.

\checking the scene before approaching to help avictim?

- You must know what happened to give proper first aid..
b. Another rescuer might already be helping the victim.

} You might become a victim yourself if the scene is unsafe.

-d. The EMS dispatcher will want to know details about the |
scene. eS

4. T he Check step in 1 Check-Call- Care i isa ‘check for all of these’
except— .

a. Scene safety. _
“b. Life threatening conditions of the victim.
Bb

. Segy. Number of victims.
Ae Controlling bleeding.

The first four links in the EMS Chain of Survival arce—

a. Citizen response, rehabilitation, EMT care, first respondet care. .

© ©\itizen response, calling 911, first responder care, EMT care.

¢.” Citizen 1 response, EMT care, first responder care, hospital care.
d. EMT care, rehabilitation, hospital care, first responder. care.

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—DO NOT WRITE ON THIS EXAM—

6. An unconscious person must be checked carefully for signs of
breathing. You should—

@ Look, listen, and feel for signs of breathing.
b. Feel the stomach for movement. .- .-
‘c. Look at the mouth for air coming out.’

_d..Check for at least 15 seconds to be sure. —

7. You must call EMS personnel immediately whien which of the
following conditions exist?

a. The victim. has a cough.
b. The victim has a stomach ache that goes. away.
c. The victim has. an earache.

© The victim b has difficulty breathing. :

8. True or False: the most important thing you can 1 doi inan - .
emergency is provide first aid and CPR. ,

9. The best: “way to reduce the risk of disease | transmission”
‘between you and a victim is to— -

@ Avoid contact with’ the victim’s body substances whenever
possible...
b: Wash your | hands with s soap and water immediately before
: giving care. ao Coe
c. Disinfect all surfaces and body paits before- touching them.
d. Never eat. when performing GPR—small sips of water are
0. K.' . :

_10. Which would you do first ify you think-a person is not
' . breathing?

a. Feel for a pulse on the neck

6) (b) Perform the head-tilt/chin-lift technique

c.. Put your ear to the chest to listen for breathing
of) Look, listen, and feel for breathing -

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—DO NOT WRITE ON THIS EXAM—

11. Which should you see if you are > performing r rescue breathing
corréctly?

a. The victim’s eyes open ‘with the first breath
0) The victim's. chest rise with each breath -
Cc. Nothing unusual
_d. The air coming out of the victim’ $ nose. € with each breath

12. True or False: a victim who has a pulse does not require
rescue breathing. | a

True Soe,
© False
13. The head-tilt/chin-lift technique is used for—
a. Stabilizing the head and neck.._
b. Removing a foreign object from: an’ airway. ,

—c. _Breathing for a non- -breathing person.
) Opening the airway.

14. Which of. the e following i is. NOT a reason why people some-
times fail to act in an emergency?

a. The presence of other bystanders
b.. -Fear of disease transmission :
_. c. Fear of doing soinething wrong:
’ Desire to utilize first ‘aid {training

15. Which i isa asighal of breathing ditculy?
a. Pain in the abdomen
b. Pain radiating down the left arm —
© Unusual noises such as s wheezing or gurgling
‘d. Ear ache’

[152g]

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—DO NOT WRITE ON THIS EXAM—

Adult CPR Questions. Exam A

1. What should you do for a conscious adult who is choking and
cannot cough, speak, or breathe?
a. Give two slow breaths. .
_ b. Doa fi inger sweep.
Give abdominal thrusts.
“"d: Lower the victim to the floor and open the airway.

2. After giving abdominal thrusts to an unconscious adult with an.
_ obstructed airway, you should—

| Dova. finger sweep, open the’ airway using the head-tilt/
-chin-lift and attempt 2 slow breaths, ‘retilt the head, and
-reattempt 2 slow breaths..

“ob. Give 2 slow breaths and then do a finger sweep.
-c. Check fora pulse, give 2 slow breaths, and. then doa finger a
“sweep. !
»  d.-Doa finger sweep and then check fora pulse.

3. A woman is choking on a piece e of food buti is conscious and
‘coughing forcefully. What should you do?

a. Slap. her on the back until she coughs up the food.
. bd. Give abdominal. thrusts.
a c Do a finger sweep.

) Encourage her to continue coughing.

4. “CPR compressions onan adult are » performed using—
a. One finger on the lower half of the breastbone. .
b. Two fingers. on the lower half of the breastbone. :
©. One hand on the lower half of the breastbone.
@ Two hands on the lower half of the breastbone.

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—DO NOT WRITE ON THIS EXAM—

5: When you are performing CPR, the body position that is the
_ least tiring for you, and provides the best blood flow to the
- victim’s brainis— =

& Pressing straight. ‘down onto the breastbone with your
elbows locked and’ your arms straight.

. b. Kneeling beside the victim, your hands in the correct
position, and your weight back on your. heels. -

_ c. A position in which the rescuer uses a natural rocking back
- and forth motion to perform the compressions.

d. Compressing, using primarily the muscles i in 1 your upper
arms and shoulders.

6. | Whiere on an adult victim’ should you feel for a pulse?
a Brachial artery in the upper arm.
b. Femoral artery in the groin. ss .
Carotid artery in the groove of the neck.
a o Radial artery in the wrist. oo

7, Which i is the most common reason fora an adult’ s heart to stop
beating? _

‘Heart disease
bs: ‘Electrocution
c. Drowning/ suffocation
od Drug overdose/polsoning

. 8. One eycle of CPR foran » adult includes—
a. 30 compressions and 5 breaths.
b. 10 compressions and 2 breaths.
©. 15 compressions | and 2 breaths.
d. 15 compressions and 5 breaths.

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a

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9.

10.

—DO NOT WRITE ON THIS EXAM—

When performing CPR onan adult victim, why is it important
to keep your shoulders directly over your hands and: your
elbows locked?

a. So that you don’t injure your elbow joints. :
b. So that the proper wrist angle is maintained throughout the
‘compression

ySo that you use the weight of your upper body to compress
the chest and don’ t tire out too quickly

, d. ‘So that the chest is compressed exactly one. inch a

About how many y cycles of Adult CPR should be  perforined in in
one minute?

_ Two

b ae

| Four
d. _AS' many as possible

- (152j]

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‘Case 1:05-cv-00326-LG-JMR = Document 77-4 ~ Filed 08/14/08 Page 29 of 39
¢ f : Oo ,

HARRISON COUNTY SHERIFF'S DEPART MENT
JOE PRICE, Sheriff

228-865-7050
228-865-7095

September 2, 1999 .

TO: Sheriff Joe Price.

FROM: Lt. Michael MoCaleb
Training and. d Compliance Officer

yp)

im RE: ‘New Hire Pre-Service Class PSC (99- 10)

terse)

The following is a list of deputies that I have current record of that have not attended
pre- “service classes.

I recommend that. they be enrolled 1 in PSC 99-10 beginning September 7, 1999.

Brown,Julie . Records |
Mumford, Annie Front Desk
Lopez,Michael

As Available -
Carlisle, Jeannie Secretary
Miller,Pam ©. Inmate Accounting
Neely, Jackie Medical
Sweat,Linda _ Medical
All New Hires"

Fle Miser , BRian rear th
Fo. jy ar mckae]
wlhs, Mickey 7 LT..MI

cc: Warden Bill Haden
Major Randy Cook

. Lt, Walter Pitts

io: _ Lt. Jim Randall

. P.O. BOX 1480
GULFPORT, MISSISSIPPI 39502
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THE FOLLOWING EMPLOYEES TOOK THE CIVIL SERVICE. TE iE ON 9/15/99.
THEIR GRADES WERE:

BRIAN FLEMING 88
SHAWN JOHNSON 83.

_ MICHAEL LOPEZ 88
ANN MUMFORD OL . Ss
RHONDALYN PUZZ 81
CHRISTOPHER SMITH © O91
TODD WALLIS) © ———s«o92.

ANNIE WILLIAMS, 89
Ni EMPLOYEES DID NOT ‘SHOW FOR BITHER TESTING TIME.

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“HARRISON COUNTY SHERIFF DEPARTMENT
JOE PRICE SHERIFF |

jo
PRE-SERVICE TRAINING CLASS esc 95
Dr. Michael A. Me. Caleb. ee

September 7-September 10,1999

~

09/07/99. 0730-0800" PRE-SERVICE ORIENTATION ~ Dr. Michael MeCaleb_
oe 0800-1100. JAILTOUR AND. OPERATION. Warden Haden |
1100-1200 GENERAL / SPECIAL ORDERS Dr. Michael Me Caleb
~ 1200-1230 LUNCH |.
. a . 1230-1330 US JUSTICE CONCENT ORDER Michele Herman:
" » (1330-1430  SEXUALHARASSMENT * . Michele Herman
a 1430-1630... INMATE RULES HANDBOOK "Deputy C. Taylor |
o 1630-1900. INMATE DISCIPLIN vas Deputy C. Taylor -

09/08/99. - * 0700-0800 PosT. ORDERS: ee ‘Sot. Gyn
©» 0800-0900 -. MEDICAL INTERACTION. . : Staff. .
~ 25.2 0900-1200- TREATMENT OF INMATES Warden Haden
. 1200-1230'. . LUNCH” 2 oe ae
1230-1530 _ OFFICER SAFETY see Lt Weatherford. :
_ | 1530-1730 _. FIRE EQUIPMENT. OPERATION ‘Staff © Oo
oli 1730-1900 - CLASSIFICATION oe Set. Parker” Bes

"99/09/98 0700-0900 -guIeDE PREVENTION Lt. Kelley
~~, 0900-1200 . EMERGENCY POLICY ~ Warden. Haden ~
“1200-1230. “LUNCH.
1230-1430 | OFFICER PROFESSIONALISM Lt. Taylor
1430-1800 = SEARCHING (PEOPLE/PLACES) - “Lt. Taylor
09/10/99... 0700-0930: TOWEROPERATIONS Staff
~ 9930-1000. | COMMISSION/CERTIFICATES Dr. Mc Caleb. ©
| Oe A SECURITY ee Warden Haden
“3. 1200-1230". LUNCHES os
Lo 1230-1800. 8 FIRST AID/CPR ee Lt A Kelly/Tayor os

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HARRISON COUNTY SHERIFF'S DEPARTMENT

PRE SERVICE TRAINING CLASS (99-10) (44 HOURS)

SEPTEMBER 7 ~ 10, 1999

_ BROWN, JULIE a - _ XXX-XX-XXXX
_ FLEMING,BRIAN KEITH 42-43-1084
LOPEZ,MICHAEL G. ~ §46:35-1892
MUMEORD,ANN a XXX-XX-XXXX
TEELRYANMICHAEL © | — XXX-XX-XXXX

WALLIS,MICKEY TODD XXX-XX-XXXX
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HARRISON COUNTY SHERIFF DEPARTMENT TRAINING RECORD

NAME: THOMAS, EARNEST B. BADGE #: 160 DIVISION: CORRECTIONS
DATE HIRED:

CLASS/CERTIFICATION DATE TRAINING HOURS REMARKS
WORKING WITH SPECIAL NEEDS OFFENDERS X_ 4-Feb-03 40 HRS
RIOTS AND DISTURBANCE % 1-Mar-03 15 MIN
NATURAL DISASTER PLAN S<_ 18-Mar-03 15 MIN
INMATE DEATHS x<_ 19-Mar-03 15 MIN
EVACUATION PLANS >< 12-Mar-03 15 MIN
FIRE AND EVACUATION x 13-Mar-03 15 MIN
DEFENSIVE TACTICS X _ 19-Aug-03
BASIC CORRECTIONAL OFFICERS TRAINING ‘x 22-Aug-03 80 HRS
OLEORESIN CAPSAGIN 0.C. SPRAY >< 14-Aug-03
EMPLOYEES AND INMAT CULTURE “oe 10/14/2003 15 MIN
PERSON CELL SEARCH "x 11/18/2003 4HRS
GANGS 1/22/2004 4 HOURS
SIGN LANGUAGE ® 2/12/2004 4
SEXUAL HARASSMENT "S¢ 5/13/2004 3 HOURS
HOW NOT TO BECOME A HOSTAGE “x 7/6/2004 4HRS
NCic x 8/16/2004 2HRS —
EVIDENCE ‘8/12/2004 2HRS —
CORRECTIONAL SUPERVISION COURSE CERTICATE OF COMPLETIC.9¢° 11/8/2004 40 HOURS
USE OF FORCE x 9/30/2004 4HRS —
INMATE WORKER GUIDELINES ox 8-Dec-04 15 MIN
SUICIDE WATCH <_ 1-Jan-04 15 MIN
SUICIDE PREVENTION CARD XM 4-Feb-05 15 MIN
CORRECTIONAL EMERGENCY RESPONSE TEAM (INST. CERTIFI 3-Dec-04 —_
OFF DUTY UNIFORM GUIDELINES 24-Mar-05 15 MIN
0.C. RE-CERTIFICATION EXPIRES IN 1 YR. 14-Apr-05 2HRS
INMATE RIGHTS: ACCESS TO MEDIA 17-May-05 15 MIN
ACA SUICIDE PREVENTION IN CUSTODY CERTIFICATE ‘Se 18-Jun-05 20 HRS
INMATE RIGHTS: GENERAL LIBRARY SERVICES 18-May-05 15 MIN
5/26/05 MEMO: LIBRARY SERVICES , 26-May-05 15 MIN
5/26/05 MEMO: LIBRARY SERVICES 29-May-05 15 MIN

LAST UPDATED 2/25/2008

1 OF 3

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HARRISON COUNTY SHERIFF DEPARTMENT TRAINING RECORD |

[HEALTH CARE: SPECIAL HEALTH GARE PROGRAMS 8-Jun-05 15 MIN T
NAME: | BADGE #: CONTINUATION SHEET
DATE HIRED:

CLASS/CERTIFICATION DATE TRAINING HOURS REMARKS

6/13/05 MEMO. ATTORNEY VISITATION 14-Jun-05 15 MIN
6/10/05 MEMO: INMATE ACCOUNTS CONCERNS 76-Jun-05 15 MIN
EMERGENCY & SECURITY PROCEDURES 16-Jun-05 4HRS =
SUICIDE PRECAUTIONS & SIGNS OF SUICIDE RISK KX 12-Jul-05 3HRS =
GENERAL ORDER #27: NEWS MEDIA 8-Aug-05 15 MIN
GENERAL ORDER #41: MARRIAGE BETWEEN DEPARTMENT EMPLO 10-Aug-05 15 MIN
GENERAL ORDER #18: CRIME SCENE INVESTIGATIONS (PART 1) 15-Aug-05 15 MIN
GENERAL ORDER # 45; SMOKING POLICY 18-Aug-05 15 MIN
8-19-05 MEMO:PROXIGUARD SECURITY WANDS 19-Aug-05 15 MIN
POST ORDERS: FLOOR OFFICER D-BLOCK 9-Nov-05 15 MIN
POST ORDERS: KEY CONTROL 11-Jan-06 15 MIN
JMS AUTOMATED SYSTEM TRAINING "X _2-Mar-06 4HRS =
CORRECTIONAL COMMAND SPANISH “>< 6-Mar-07 8 HRSw
JMS AUTOMATED SYSTEM TRAINING 2 10-Mar-06 2HRS —
POLICY & PROCEDURES: HUNGER STRIKE 9-May-06 15 MIN
ADMINISTRATION & MGT: APPOINTED PERSONNEL & MGT TABLE 22-May-06 15 MIN
POLICY & PROCEDURES. LEGAL ASSISTANCE 26-May-06 15 MIN
POLICY & PROCEDURES: UNIFORM & PERSONAL APPEARANCE 28-May-06 15 MIN
POLICY & PROGEDURES. ADMINISTRATIVE SEGREGATION q-Jun-06 15 MIN
SAFETY & EMER PROCEDURES. EMERGENCY POWER & COMM 26-Jul-06 75 MIN
FOOD SERVICE MENU PLANNING: DIETARY ALLOWANCES MEAL 24-Aug-06 15 MIN
USE OF FORCE & USE OF RESTRAINTS POLICIES 20-Sep-06 15 MIN
OC RECERTIFICATION “§¢_25-Jan-07 4HRS
SECURITY PROCEDURES & REGULATIONS/ SAFETY PROCEDURES | 9f 29-May-07 4HRS —
POLICY & PROCEDURES: TOURS 23-Aug-07 15 MIN
AGA STANDARDS: SAFETY & EMERGENCY PROCEDURES 43-Jul-07 8 HRS —
IMPACT WEAPONS ‘_1-Feb-08 6 HRS

LAST UPDATED 2/25/2008

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AMERICAN GORRECTIONAL ASSOCIATION

206 Nonri WASHINGTON Sreeer, Surre 200 © ALEXANDRIA, VinciniA 22344
103 © 224° 0000 Fax: 703 © 224 + 0040
WIFW.ACA.ORG

February 26, 2008

Earmest B. Thomas

Harrison County Sheriff's Dept.
Attn: Paula Hentges

10451 Larkin Smith Drive
Gulfport, MS 39503-4615

Dear Mr. Thomas:

Congratulations on your successful completion of the American Correctional Association's Correctional
Supervision IT Self-Instructional Course.

Having completed this training program, you are now eligible to receive continuing education units
(CEU's)from University of Maryland, College Park. If you would like to receive CEU's, complete the
enclosed registration form and mail it to the American Correctional Association. Please make out your
check or money order to ACA in the amount of $25.00.

Please note also that several of ACA's self-instructional courses have been reviewed by and
recommended for college credits. The enclosed sheet provides information on how to go about getting
the credits on your transcript. For information on other ACA programs eligible for college credit, please

check our website at www.aca.org.

Once again, I commend your efforts and encourage you to have a copy of this letter placed in your
personnel file along with your transcript. As of December 15, 2007 ACA is no longer issuing
certificates. If you are an ACA Certified Correctional Professional, this letter will also serve as
documentation for your recertification. If you have any questions or need additional information, please
email the Professional Development staff at collegecredits @aca.org.

Sincerely,

Kathy Black-Dennis
Professional Development Director

Participant ID# 10666463

Enclosures:
CEU Form, Request Form

Your Grade(s):
88
Total course hours taken: 40.00

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HARRISON COUNTY

9

SHERIFF’S DEPARTMENT
uy Post Office Box 1480
George H. Pagae Gr. | Gulfport, Mississippi 39502
Sheriff
March 25, 2007
Earnest Thompson
Badge # 160

You have successfully completed the Oleoresin Capsicum (O.C.) Re-certification requirements. Your
certification expires January 25, 2008. To keep you qualification to carry the O.C. spray, please continue
to up-date your certification yearly. A copy of this letter will be placed in your personal training file in
the training department.

If you have any questions or need additional information, you may contact the training department at 604-
2361.

Sincerely,

Office: (228) 865-7092 Fax: (228) 865-7071 Dispatch: (228) 865-7060

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_ Institute of Police
Technology and Management

UNIVERSITY OF NORTH FLORIDA
This is to certify that

has successfully completed the 40 hour training course
Verbal Judo: Train-the-Trainer

Conducted in Jacksonville, Florida

July 16, 2007 - July 20, 2007

~

Zina A Guach

IPTM DIRECTOR

UNIVERSITY of
NORTH FLORIDA.

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F_ARRISON COUN /
SHERIFF’S DEPARTMENT

Post Office Box 1480
Gulfport, Mississippi 39502

SPECIAL ORDER NUMBER: 06- 279
DATE: OCTOBER 4, 2006

INDEX AS: SPECIAL TRAINING ASSIGNMENT

SUBJECT: CPR/FIRST AID INSTRUCTOR CERTIFICATION

TO: SGT. EARNEST THOMAS

You have been scheduled to attend the above reference certj ion, October 16, 18 and 20",
2006 at the American Red Cross, 2782 Fernwood Road, Gulfport, M:

This Order is effective October 16, 2006.

Cc: Warden Cabana /
Capt. Pitts
Capt. Campbell
Paula Hentges
Fran Palmer
File

Office: (228) 865-7092 . Fax: (228) 865-7071 Dispatch: (228) 865-7060
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HARRISON COUNTY
SHERIFF’S DEPARTMENT

Post Office Box 1480
Gulfport, Mississippi 39502

October 5, 2006

To: Bertina Burg
From: Paula Hentges, Training Department
Subject: First Aid/CPR Instructor Training

We would like to enroll Sgt. Earnest Thomas from the Harrison County Sheriff’s Department into your
Oct. 16", 18", and 20" class for CPR/First Aid Instructor. Attached is purchase order to cover the cost of
tuition and an instructor certification showing he was certified in the past. He is also our instructor for the
sheriff's department and teaches a class about once a month depending on the amount of students.

If you have any questions, please contact me at 228-604-2361. I am in and out of the office throughout |
the day, please leave a message and I will return your call.

Thank yo

Deputy Paula Hentges
Training Department

Office: (228) 865-7092 Fax: (228) 865-7071 Dispatch: (228) 865-7060 .

